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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 COMMITTEE ON WAYS AND MEANS,
 UNITED STATES HOUSE OF
 REPRESENTATIVES,

                       Plaintiff,

        v.                                            No. 1:19-cv-01974-TNM

 UNITED STATES DEPARTMENT OF THE
 TREASURY, et al.,

                       Defendants,

 DONALD J. TRUMP, et al.,

                       Defendant-Intervenors.


                                    JOINT STATUS REPORT

       Plaintiff Committee on Ways and Means of the U.S. House of Representatives

(Committee), Defendants U.S. Department of the Treasury et al., and Defendant-Intervenors

Donald J. Trump et al. respectfully submit this report in accordance with the Court’s Minute

Entry of March 5, 2020. The parties’ respective statements of position are set forth below.

       Plaintiff’s Statement of Position

       On March 6, the House Committee on the Judiciary filed a petition for rehearing en banc

of the panel’s decision in Committee on the Judiciary v. McGahn, — F.3d —, No. 19-5331, 2020

WL 1125837 (D.C. Cir. Feb. 28, 2020). The D.C. Circuit panel held that the Judiciary

Committee lacked Article III standing to seek judicial enforcement of its subpoena to a former

White House Counsel. The panel sua sponte expedited the time for the Judiciary Committee to

seek rehearing. See Order, McGahn, 2020 WL 1125837 (D.C. Cir. Feb. 28, 2020).
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        If the D.C. Circuit grants rehearing en banc in McGahn, the Court’s ruling in that case

will inform this Court’s determination of whether the Committee has Article III standing to

pursue its subpoena-enforcement claim in this case. If the D.C. Circuit denies rehearing en banc

in McGahn, the Committee seeks an opportunity to brief the effect of McGahn on both its

subpoena-enforcement claim and its claims pursuant to 26 U.S.C. § 6103(f). As the Committee

has advised the Court, crucial differences exist between the threshold issues presented in

McGahn and those in this case. See Mot. to Vacate Hr’g and for Suppl. Briefing on McGahn at 2

(Mar. 4, 2020), Dkt. 86; Mot. to Lift Stay at 2-4 (Jan. 28, 2020), Dkt. 79. Regardless of whether

the D.C. Circuit grants or denies rehearing en banc, the Committee intends to press forward with

its subpoena-enforcement claim and its Section 6103 claims.

        Defendants’ and Defendant-Intervenors’ Statement of Position

        In Committee on the Judiciary v. McGahn, No. 19-5331, 2020 WL 1225837 (D.C. Cir.

Feb. 28, 2020), the D.C. Circuit held that “[l]awsuits to resolve interbranch informational

disputes” do not constitute Article III cases or controversies. Id. at *7. In light of the D.C.

Circuit’s holding, which extends to all of the Committee’s claims in this lawsuit, Defendants and

Defendant-Intervenors respectfully submit that the Court should dismiss this action in its entirety

without further briefing.

        If the Court is not inclined to dismiss the case at this time, then Defendants and

Defendant-Intervenors would not object to the Court’s staying this case pending the completion

of further proceedings in McGahn, provided that any such stay extend through the completion of

any Supreme Court proceedings, and not merely the completion of proceedings in the D.C.

Circuit. Should the Court order such a stay, Defendants and Defendant-Intervenors propose that

the parties file a further joint status report within seven days of either (a) final action by the



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Supreme Court on any petition for certiorari filed in McGahn, or (b) if no such petition is filed,

the expiration of the deadline to file such a petition.



                                               Respectfully submitted,

                                               /s/ Douglas N. Letter
                                               Douglas N. Letter (DC Bar No. 253492)
                                                   General Counsel
                                               Todd B. Tatelman (VA Bar No. 66008)
                                                   Principal Deputy General Counsel
                                               Megan Barbero (MA Bar No. 668854)
                                                   Deputy General Counsel
                                               Josephine Morse (DC Bar No. 1531317)
                                                   Deputy General Counsel
                                               Adam A. Grogg (DC Bar No. 1552438)
                                                   Associate General Counsel

                                               OFFICE OF GENERAL COUNSEL
                                               U.S. HOUSE OF REPRESENTATIVES
                                               219 Cannon House Office Building
                                               Washington, D.C. 20515
                                               Telephone: (202) 225-9700
                                               douglas.letter@mail.house.gov

                                               Counsel for Plaintiff Committee on Ways and
                                                  Means, U.S. House of Representatives


                                               JOSEPH H. HUNT
                                               Assistant Attorney General

                                               DAVID M. MORRELL
                                               Deputy Assistant Attorney General

                                               ELIZABETH J. SHAPIRO
                                               Deputy Director

                                               JAMES J. GILLIGAN
                                               Special Litigation Counsel

                                               /s/ Steven A. Myers
                                               STEVEN A. MYERS (NY Bar No. 4823043)
                                               SERENA M. ORLOFF (CA Bar No. 260888)

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                                   Trial Attorneys

                                   United States Department of Justice
                                   Civil Division, Federal Programs Branch
                                   P.O. Box 883
                                   Washington, D.C. 20044
                                   Telephone: (202) 514-3358
                                   Fax:        (202) 616-8470
                                   E-mail:     stephen.a.myers@usdoj.gov

                                   Attorneys for Defendants



                                   /s/ William S. Consovoy
                                   William S. Consovoy (D.C. Bar #493423)
                                   Cameron T. Norris
                                   Steven C. Begakis
                                   CONSOVOY MCCARTHY PLLC
                                   1600 Wilson Boulevard, Suite 700
                                   Arlington, VA 22209
                                   (703) 243-9423
                                   will@consovoymccarthy.com

                                   Patrick Strawbridge
                                   CONSOVOY MCCARTHY PLLC
                                   Ten Post Office Square, 8th Floor
                                   South PMB #706
                                   Boston, Massachusetts 02109
                                   (617) 227-0548

                                   Attorneys for Defendant-Intervenors


March 12, 2020




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